              Case 18-32139-ABA                   Doc 1     Filed 11/07/18 Entered 11/07/18 13:21:32                               Desc Main
                                                            Document     Page 1 of 62
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                James Candy Company

2.   All other names debtor
     used in the last 8 years
                                  DBA Bayard's Chocolate House
     Include any assumed          DBA Fralinger's Salt Water Taffy
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1519 Boardwalk
                                  Atlantic City, NJ 08401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Atlantic                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jamescandycompany.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    James Candy Company                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5292

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   James Candy Company                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    James Candy Company                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 7, 2018
                                                  MM / DD / YYYY


                             X   /s/ Frank Glaser                                                         Frank Glaser
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Ira R. Deiches                                                        Date November 7, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ira R. Deiches 013941976 NJ
                                 Printed name

                                 Deiches & Ferschmann
                                 Firm name

                                 25 Wilkins Avenue
                                 Haddonfield, NJ 08033
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856.428.9696                  Email address      ideiches@deicheslaw.com

                                 013941976 NJ
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 7, 2018                        X /s/ Frank Glaser
                                                                       Signature of individual signing on behalf of debtor

                                                                       Frank Glaser
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 18-32139-ABA                          Doc 1      Filed 11/07/18 Entered 11/07/18 13:21:32                                         Desc Main
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 Fill in this information to identify the case:
 Debtor name James Candy Company
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                               credit card                                                                                               $65,973.95
 PO Box 1270
 Newark, NJ 07101
 Atlantic City Electric                                         utility bills                                                                                               $9,152.27
 Co.
 Bankruptcy Division
 5 Collins Drive, Ste
 2133
 Mail Stop 84CP42
 Carneys Point, NJ
 08069
 Bakemark USA, LLC                                              trade debt                                                                                                  $6,691.30
 1815 Rte 130 N.
 Unit 1
 Burlington, NJ
 08016-3016
 Barclays Bank of                                               credit card                                                                                               $31,485.79
 Delaware
 PO Box 13337
 Philadelphia, PA
 19101-3337
 Calico Cottage, Inc.                                           trade debt                                                                                                $55,931.03
 210 New HIghway
 Amityville, NY 11701
 Cargill, Inc.                                                  trade debt                                                                                                $13,882.48
 PO Box 640283
 Pittsburgh, PA
 15264-0283
 Casani Candy                                                   trade debt                                                                                                $38,248.67
 7905 Browning Rd
 Ste 208
 Pennsauken, NJ
 08109
 Comcash, Inc.                                                  trade debt                                                                                                  $6,900.00
 16485 Laguna
 Canyon Road S
 Ste 210
 Irvine, CA 92618

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    James Candy Company                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dutch Valley Food                                              trade debt                                                                                                $12,505.75
 Distributors
 7615 Lancaster Ave.
 PO Box 465
 Myerstown, PA
 17067
 Friedman LLP                                                   CPA fees                                                                                                    $5,364.80
 327 Central Ave
 Linwood, NJ 08221
 Gem Barcoding Inc.                                             trade debt                                                                                                  $5,132.78
 PO Box 391
 East Greenwich, RI
 02818
 HR Atlantic City                                               loan of $65,000 for                                                                                       $56,345.00
 Lender, LLC                                                    fit up of store at
 5701 Stirling Rd                                               Hard Rock Hotel &
 Davie, FL 33314                                                Casino
 Johnson's Popcorn                                              trade debt                                                                                                  $7,722.00
 PO Box 802
 Ocean City, NJ
 08226
 OK Kosher                                                      trade debt                                                                                                  $5,500.00
 391 Troy Ave
 Brooklyn, NY 11213
 Rainbow Polybag                                                trade debt                                                                                                $27,132.48
 Co., Inc.
 179 Morgan Ave.
 Brooklyn, NY 11237
 SOSH Architects                                                professional                                                                                              $30,853.35
 1020 Atlantic Ave                                              services
 Atlantic City, NJ
 08401
 South Jersey Paper                                             trade debt                                                                                                  $5,737.00
 Products
 2400 Industrial Way
 Vineland, NJ 08360
 Transcendia Inc                                                trade debt                                                                                                  $6,394.37
 9201 W. Belmont
 Ave.
 Franklin Park, IL
 60131
 United Parcel                                                  trade debt                                                                                                $22,983.13
 Service
 PO Box 7247-0244
 Philadelphia, PA
 19170-0001
 Wild Republic Div of                                           trade debt                                                                                                  $9,636.82
 K&M International
 PO Box 691237
 Cincinnati, OH
 45269



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            James Candy Company

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,600,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,156,944.83

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,756,944.83


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,217,645.63


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           830,596.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,048,241.65




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $3,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Checking-operating
           3.1.    OceanFirst Bank                                          account                                                                  $1,265.00



                                                                            Checking-payroll
           3.2.    OceanFirst                                               account                                                                    $500.00



                                                                            Checking-sales tax
           3.3.    OceanFirst                                               account                                                                  $6,775.44



                                                                            Checking-Bayard
           3.4.    OceanFirst                                               Chocolates                                                               $2,576.00




           3.5.    Wells Fargo                                              Checking                                                                 $1,932.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $16,048.44
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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                  Name



 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     security deposit and utility deposit                                                                                         $14,223.87



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                  $14,223.87
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 30,438.00   -                                   0.00 = ....                 $30,438.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                  $30,438.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used   Current value of
                                                      physical inventory             debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           inventory on 30Sept2018
           valued at cost adjusted
           as of 6Nov2018                             30Sept2018                                    $0.00                                       $227,734.52


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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 Debtor         James Candy Company                                                              Case number (If known)
                Name



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                          $227,734.52
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2007 FRE truck                                                            $0.00                                      $10,000.00


           47.2.     2005 FRE truck                                                            $0.00                                        $7,500.00


           47.3.     2014 Mercedes Benz ML350                                                  $0.00                                      $13,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         James Candy Company                                                           Case number (If known)
                Name

            miscellaneous items of machinery and
            equipment related to the manufacturing and
            packaging of candy and other inventory
            items-see attached list                                                         $0.00      Owner's estimate                  $838,000.00




 51.        Total of Part 8.                                                                                                         $868,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 1517 Boardwalk,
                     Atlantic City-Blk 50,
                     Lot 29                               Fee simple                        $0.00      Appraisal                       $1,600,000.00




 56.        Total of Part 9.                                                                                                         $1,600,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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            Case 18-32139-ABA                          Doc 1          Filed 11/07/18 Entered 11/07/18 13:21:32        Desc Main
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                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 5
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 Debtor          James Candy Company                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $16,048.44

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $14,223.87

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $30,438.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $227,734.52

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $868,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,600,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,156,944.83            + 91b.            $1,600,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,756,944.83




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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  The Current debt on the below equipment is $60,000 dollars. Approximatly $39,000 will be paid off in 2018 and $21,000 will be paid off in
   2019. The values are at a Non-Stressed sale and not at Auction. The dates are as best we recollect when the equipment was purchased.

                                                                                                Piece Size            Estimated     Purchased

Machine N a m e                                                      Manufacturer              Size                     Value         Year

         1 RF750                                                     ROSE FORGROVE              1 3/4x 5/8x9/16          $40,000        1990

         2 FWT Cut & Wrap                                            ROSE FORGROVE              1 3/4x 5/8x9/16          $20,000        1968

         3 FWT Cut & Wrap                                            ROSE FORGROVE              1 3/4x 5/8x9/16           $20,000       1968

         4 FWT Cut & Wrap                                            ROSE FORGROVE              2 x 1/2 Dia.              $20,000       1969

         5 FWT Cut & Wrap                                            ROSE FORGROVE              2 x 1/2 Dia.             $20,000        1969

         6 RF750                                                     ROSE FORGROVE             2 x 1/2 Dia.              $40,000        1990

         7 Batch Roller & Sizer RF 440                               ROSE FORGROVE                                       $25,000        1990

         8 Batch Roller RS4-34-204                                   Beacon Manufacturing                                $25,000        1995

         9 Rope Sizer BR800-35v-0204                                 Beacon Manufacturing                                $20,000        1995

       10 Batch Roller & Sizer HBR/HBF                               ROSE FORGROVE                                       $20,000        1975

       11 Batch Roller & Sizer                                       ROSE FORGROVE                                        $10,000       1960

       12 Batch Roller & Sizer                                       ROSE FORGROVE                                        $10,000       1960

       13 Batch Roller RS4-33-403                                    Beacon Manufacturing                                 $25,000       1995

       14 Rope Sizer BR800-34v-0409                                  Beacon Manufacturing                                 $20,000       1995

       15 Commercial Refrigerator                                    Kelvinator                                            $4,000       2015

       16 6 cold tables $3,000 each                                                                                       $12,000       1970

       17 Ruffinatti Horizontal Puller TZ-40                         Ruffinatti                                           $18,000       1998

        18 Ruffinatti Horizontal Puller TZ-40                        Ruffinatti                                           $18,000       1998

        19 H o t Box                                                                                                       $4,000       199S

        20 Groen Agitated tilting Kettle DN/RA -60 WP 45             Groen                                                $12,000       1990

        21 Groen Agitated tilting Kettle DN/RA -60 WP 45             Groen                                                $12,000        1990

        22 Groen Agitated tilting Kettle DN/RA -60 WP 45             Groen                                                $12,000        1990

        23 Groen Agitated tilting Kettle DN/RA -60 WP 45             Groen                                                $12,000        1990

        24 Vacuum Kettle Copper capacity 260 pounds                                                                        $4,500        1970

        25 Vacuum Kettle Copper capacity 260 pounds                                                                        $4,500        1970

        26 Kettle Fixed w/super heater 60 gallon WP 125              Metal Products                                        $8,000        1975

        27 Kettle Fixed w/super heater 60 gallon WP 125              Metal Products                                        $8,000        1975

        28 Columbia Boiler 25 HP WP 125                                                                                    $6,000        1990

        29 Columbia Boiler 25 HP WP 125                                                                                    $6,000        1990

        30 Lee Metal Kettle Tilting 4 0 gallon Wp 90 psi             Lee Meral                                            $10,000        1990

        31 Lee Metal Kettle Tilting 4 0 gallon Wp 90 psi             Lee Meral                                            $10,000        1990

        32 ALPH Checkweigher Automatic w Kick out                    ALPH                                                 $10,000        2012
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33 Package F4 Overwrap machine                          Package Machinery                  $5,000   1975

34 Package F2 Overwrap machine                          Package Machinery                  $2,500   1975

35 Label Applicator with Stand                          Universal                          $6,500   2012

36 Label Applicator with Stand                                                             $2,500   2000

37 Label Applicator with Stand                                                             $2,500   2000

38 Hayseen Ultima Bagger                                Hayseen                        $20,000      1990

39 Hayseen Yamato Data Weigher Ten head                 Yamato                         $20,000      1990

40 Videojet 6420 Date Code machine                      Videojet                           $5,000   2015

41 Videojet 1220 Date code Machine                      Videojet                           $8,000   2012

42 Videojet 1220 Date code Machine                      Videojet                           $8,000   2012

43 Metal Detector                                       Gorin Kerr                         $4,000   2000

44 3M case Sealer                                       3M                                 $2,000   2000

45 Metal Detector Model Extreme                         ERIEZ                          $14,000      2011

46 Foil wrapper                                         Rose FORGROVE                      $2,500   1970

47 Foil wrapper                                         Rose FORGROVE                      $2,500   1970

48 Chocolate Depositor                                  Racine                             $3,000   1970

49 Chocolate Spinner 5 machines                                                            $2,500   2000

50 Pop Forming machine                                  Latini                             $6,000   1970

51 Batch Roller w/sizer                                 Beacon Manufacturing               $6,000   1980

52 Doby Scotti 11 bagger                                Doboy                              $6,000   1985

53 Alpa Dough Depositor                                 ALPHA                              $6,000   1985

54 1 Blend Machine                                                                         $2,500   1985

55 1 Hobart Mixer                                       Hobart                             $2,500   1990

56 1 Hobart Mixer                                       Hobart                             $2,500   1990

57 Chocolate Seal Sizer with Rumbler                                                   $12,500      1960

58 24 Inch National enrober w/ cold tunnel              National Equipmet              $15,000      1960

59 Comercial Refrigerator                                                                  $2,500   2012

60 Commercial Refrigerator                                                                 $2,500   2012

61 Bainbridge Cutt & Roll                                                                  $1,500   1970

62 500 lb Chocolate Melter                              National Equipmet                  $3,000   1970

63 Cold tabels 500.00 each                                                                 $1,000   1970

64 National Depositor                                   National Equipmet                  $1,000   1970

65 Fondant Machine                                                                         $2,500   1970

66 Stainless tilting Kettle 100 Gallon Capacity 100WP   Groen                              $8,000   1985

67 Fire Mixer                                           Savage                             $7,500   2005
  Case 18-32139-ABA                   Doc 1    Filed 11/07/18 Entered 11/07/18 13:21:32     Desc Main
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68 Ball Beater                                        National Equipmet                   $2,500   1980

69 Ball Beater                                        National Equipmet                   $2,500   1980

70 500 lb Chocolate Melter                            National Equipmet                   $4,000   1980

71 500 lb Chocolate Melter                            National Equipmet                   $4,000   1980

72 500 stainless melter                                                                   $2,500   1980

73 500 stainless melter                                                                   $2,500   1980

74 5 each 100 lb Melter                               Savage                              $5,000   1990

75 2 each 250 lb Melter                               Savage                              $5,000   1990

76 Werner Lehara extruder 16 inch                     Werner Lehara                       $6,500   1990

77 Werner Lehara extruder 16 inch                     Werner Lehara                       $6,500   1990

78 16 inch Enrober with Cold Tunnel                   Smith                           $40,000      1995

79 16 inch Enrober with cold Tunnel                   Smith                           $25,000      1989

80 10 inch enrober with Cold tunnel                   Smith                           $15,000      1989

81 5 inch enrober                                     Smith                               $3,500   1985

82 carmel sizer                                                                           $1,000   1985

83 carmel cytter                                                                          $1,500   1985

84 Minipack Torree Heat Sealer                                                            $2,000   1990

85 Metal Detector Model DSP                           ERIEZ                           $12,000      2012

86 Chocolate Tempering Machine                        Selmi                           $12,000      2012

                                                                                      $838,000
            Case 18-32139-ABA                          Doc 1          Filed 11/07/18 Entered 11/07/18 13:21:32                                Desc Main
                                                                     Document      Page 19 of 62
 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Marlin Business Bank                           Describe debtor's property that is subject to a lien                   $11,830.98                 Unknown
       Creditor's Name                                3 Dell 3050 Computers w/Intel I5 7500
       PO Box 13604                                   Processors
       Philadelphia, PA
       19101-3604
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Marlin Business Bank                           Describe debtor's property that is subject to a lien                   $30,651.68                 Unknown
       Creditor's Name                                POS cash register equipment, related
       PO Box 13604                                   hardware and software-finance lease
       Philadelphia, PA
       19101-3604
       Creditor's mailing address                     Describe the lien
                                                      purchase money security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       James Candy Company                                                                      Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Mercedes Benz Financial
 2.3                                                                                                                             $5,709.97              $13,000.00
        Services                                      Describe debtor's property that is subject to a lien
        Creditor's Name                               2014 Mercedes Benz ML350
        PO Box 685
        Roanoke, TX 76262
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    OceanFirst Bank                               Describe debtor's property that is subject to a lien                 $2,169,453.00              $2,876,153.52
        Creditor's Name                               1517 Boardwalk, Atlantic City-Blk 50, Lot 29,
                                                      inventory, A/R, furniture, machinery and
        975 Hooper Avenue                             equipment, bank deposits
        Toms River, NJ 08753
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $2,217,645.6
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         3

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 3
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 Debtor       James Candy Company                                                        Case number (if know)
              Name

        Name and address                                                                        On which line in Part 1 did        Last 4 digits of
                                                                                                you enter the related creditor?    account number for
                                                                                                                                   this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $633.75
           A.M. Todd Co.                                                        Contingent
           PO Box 13859                                                         Unliquidated
           Newark, NJ 07188-0859                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $490.48
           Act Fast Termite & Pest Control                                      Contingent
           PO Box 1069                                                          Unliquidated
           Jackson, NJ 08527                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $65,973.95
           American Express                                                     Contingent
           PO Box 1270                                                          Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,152.27
           Atlantic City Electric Co.
           Bankruptcy Division                                                  Contingent
           5 Collins Drive, Ste 2133                                            Unliquidated
           Mail Stop 84CP42                                                     Disputed
           Carneys Point, NJ 08069
                                                                             Basis for the claim:    utility bills
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 12
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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,837.92
          Atlantic City Sewerage Company                                        Contingent
          PO Box 1830                                                           Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility bills
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,632.45
          Atlantic Coast Alarms                                                 Contingent
          5100 Harding Highway                                                  Unliquidated
          Ste 203                                                               Disputed
          Mays Landing, NJ 08330
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,816.00
          Atlantic Sweetener Co.                                                Contingent
          PO Box 1146                                                           Unliquidated
          Hammonton, NJ 08037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,359.13
          Aurora World, Inc.                                                    Contingent
          8820 Mercury Lane                                                     Unliquidated
          Pico Rivera, CA 90660                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          B&B Parking                                                           Contingent
          114 S. New York Ave.                                                  Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,691.30
          Bakemark USA, LLC                                                     Contingent
          1815 Rte 130 N.                                                       Unliquidated
          Unit 1                                                                Disputed
          Burlington, NJ 08016-3016
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,996.61
          Balford Farms                                                         Contingent
          PO Box 827228                                                         Unliquidated
          Philadelphia, PA 19104                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 12
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 Debtor       James Candy Company                                                                     Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Bally's Park Place, Inc.                                              Contingent
          Park Place & Boardwalk                                                Unliquidated
          Attn: Legal Dept                                                      Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,485.79
          Barclays Bank of Delaware                                             Contingent
          PO Box 13337                                                          Unliquidated
          Philadelphia, PA 19101-3337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $712.26
          Best Eastern Exterminating Co.                                        Contingent
          18 Princeton Dr.                                                      Unliquidated
          Shamong, NJ 08088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          Boardwalk Investment Properties, LLC                                  Contingent
          PO Box 10645                                                          Unliquidated
          Greensboro, NC 27401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $912.56
          Burke Candy & Ingredients, Inc.                                       Contingent
          3480 N. Fratney St.                                                   Unliquidated
          Milwaukee, WI 53212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,931.03
          Calico Cottage, Inc.                                                  Contingent
          210 New HIghway                                                       Unliquidated
          Amityville, NY 11701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,882.48
          Cargill, Inc.                                                         Contingent
          PO Box 640283                                                         Unliquidated
          Pittsburgh, PA 15264-0283                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,248.67
          Casani Candy                                                          Contingent
          7905 Browning Rd                                                      Unliquidated
          Ste 208                                                               Disputed
          Pennsauken, NJ 08109
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,620.00
          Catalog Solutions                                                     Contingent
          6750 Hillcrest Plaza Dr.                                              Unliquidated
          Dallas, TX 75230                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,536.53
          Cintas Corp.                                                          Contingent
          PO Box 630803                                                         Unliquidated
          Cincinnati, OH 45263-0803                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,900.00
          Comcash, Inc.                                                         Contingent
          16485 Laguna Canyon Road S                                            Unliquidated
          Ste 210                                                               Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,384.84
          Comcast                                                               Contingent
          P.O. Box 37601                                                        Unliquidated
          Philadelphia, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility bills
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $969.71
          Comcast                                                               Contingent
          c/o #3999, Attn: EDST                                                 Unliquidated
          1085 Andrew Dr., Ste F                                                Disputed
          West Chester, PA 19380
                                                                             Basis for the claim:    utility bills
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $555.00
          Compudata Inc.                                                        Contingent
          2701 Commerce Way                                                     Unliquidated
          Philadelphia, PA 19154                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $173.80
          Confires Fire Protection Service, LLC                                 Contingent
          910 Oak Tree Ave                                                      Unliquidated
          Ste J                                                                 Disputed
          South Plainfield, NJ 07080
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,839.76
          Crescent Box Corp                                                     Contingent
          Attn: McKonly & Asbury, LLP                                           Unliquidated
          415 Fallowfield Rd                                                    Disputed
          Camp Hill, PA 17011
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $499.34
          Cundiff Oil Company                                                   Contingent
          100 S. Black Horse Pike                                               Unliquidated
          Bellmawr, NJ 08031                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          Digital Kosher                                                        Contingent
          930 Eastern Parkway                                                   Unliquidated
          Brooklyn, NY 11213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,505.75
          Dutch Valley Food Distributors                                        Contingent
          7615 Lancaster Ave.                                                   Unliquidated
          PO Box 465                                                            Disputed
          Myerstown, PA 17067
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,752.10
          Eastern Lift Truck Co, Inc.                                           Contingent
          PO Box 307                                                            Unliquidated
          Maple Shade, NJ 08052-0307                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,922.24
          Ecolab Pest Elim Div.                                                 Contingent
          26252 Network Ave                                                     Unliquidated
          Chicago, IL 60673-1262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.65
          Ecolab, Inc.                                                          Contingent
          PO Box 32027                                                          Unliquidated
          New York, NY 10081-2002                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,850.00
          Ecommerce Partners                                                    Contingent
          59 Franklin St                                                        Unliquidated
          New York, NY 10013                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,510.59
          First Insurance Funding Corp                                          Contingent
          PO Box 7000                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $315,556.31
          Frank & Maureen Glaser                                                Contingent
          14 Otter Lane                                                         Unliquidated
          Egg Harbor Township, NJ 08234                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,364.80
          Friedman LLP                                                          Contingent
          327 Central Ave                                                       Unliquidated
          Linwood, NJ 08221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CPA fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,082.34
          Fun Stuff                                                             Contingent
          2513 58th St.                                                         Unliquidated
          Ste A                                                                 Disputed
          Hampton, VA 23661
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,132.78
          Gem Barcoding Inc.                                                    Contingent
          PO Box 391                                                            Unliquidated
          East Greenwich, RI 02818                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $538.36
          Grant Supply Company                                                  Contingent
          A Div. of FW Webb                                                     Unliquidated
          160 Middlesex Turnpike                                                Disputed
          Bedford, MA 01730
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,174.60
          H L Marco, HVAC-R                                                     Contingent
          4539 Fulton Rd                                                        Unliquidated
          Jacksonville, FL 32225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,345.00
          HR Atlantic City Lender, LLC                                          Contingent
          5701 Stirling Rd                                                      Unliquidated
          Davie, FL 33314                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan of $65,000 for fit up of store at Hard Rock Hotel
          Last 4 digits of account number                                    & Casino
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $249.05
          Island Ice Cream Inc.                                                 Contingent
          3809 Park Blvd                                                        Unliquidated
          Wildwood, NJ 08260                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,382.00
          Jack & Jill Ice Cream                                                 Contingent
          PO Box 829815                                                         Unliquidated
          Philadelphia, PA 19182-9815                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $958.07
          Johnson Controls                                                      Contingent
          PO Box 71967                                                          Unliquidated
          Pittsburgh, PA 15250-7967                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,722.00
          Johnson's Popcorn                                                     Contingent
          PO Box 802                                                            Unliquidated
          Ocean City, NJ 08226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $850.00
          Joseph Weber                                                          Contingent
          11 Grandview Ave                                                      Unliquidated
          West Collingswood, NJ 08059                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,755.39
          L H Companies SIgn Development                                        Contingent
          425 North 3rd St                                                      Unliquidated
          Reading, PA 19601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,919.69
          Liberty Coca-Cola Beverages                                           Contingent
          PO Box 780810                                                         Unliquidated
          Philadelphia, PA 19178-0810                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,428.73
          McMaster-Carr Supply                                                  Contingent
          PO Box 7690                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $803.00
          MNC Stribbons, Inc.                                                   Contingent
          2921 West Cypress Creek Rd                                            Unliquidated
          Fort Lauderdale, FL 33309                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $214.64
          Motor & Drives, Inc.                                                  Contingent
          1413 Marmora Ave.                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $362.52
          National Window Cleaning Co.                                          Contingent
          PO Box 513                                                            Unliquidated
          Somers Point, NJ 08244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,500.00
          OK Kosher                                                             Contingent
          391 Troy Ave                                                          Unliquidated
          Brooklyn, NY 11213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,316.13
          Quill Corporation                                                     Contingent
          PO Box 94081                                                          Unliquidated
          Palatine, IL 60094-4081                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,132.48
          Rainbow Polybag Co., Inc.                                             Contingent
          179 Morgan Ave.                                                       Unliquidated
          Brooklyn, NY 11237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,306.58
          RBI                                                                   Contingent
          PO Box 288                                                            Unliquidated
          Pluckemin, NJ 07978                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $280.38
          Sandblast By Creative Concepts                                        Contingent
          1500 Georgia Rd                                                       Unliquidated
          Ste A                                                                 Disputed
          Irondale, AL 35210
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,034.00
          Selective Insurance                                                   Contingent
          Lockbox 247                                                           Unliquidated
          PO Box 8500                                                           Disputed
          Philadelphia, PA 19106
                                                                             Basis for the claim:    insurance premiums
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,830.19
          Silliker, Inc.                                                        Contingent
          900 Maple Rd                                                          Unliquidated
          Homewood, IL 60403                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,003.24
          Simplex Paper Box Co                                                  Contingent
          PO Box 21469                                                          Unliquidated
          York, PA 17402                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,853.35
          SOSH Architects                                                       Contingent
          1020 Atlantic Ave                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    professional services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $477.39
          South Jersey Gas                                                      Contingent
          PO Box 6091                                                           Unliquidated
          Bellmawr, NJ 08099                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility bills
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,737.00
          South Jersey Paper Products                                           Contingent
          2400 Industrial Way                                                   Unliquidated
          Vineland, NJ 08360                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,280.00
          Steelson Packaging                                                    Contingent
          190 West Passaic St                                                   Unliquidated
          Rochelle Park, NJ 07662                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,296.75
          Thomas Kelly                                                          Contingent
          TKS Mechanical                                                        Unliquidated
          6 Wilson Ave.                                                         Disputed
          Somers Point, NJ 08244
                                                                             Basis for the claim:    trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $436.44
          Thyssen Krupp Elevator                                                Contingent
          PO Box 933004                                                         Unliquidated
          Atlanta, GA 31193-3004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,394.37
           Transcendia Inc                                                      Contingent
           9201 W. Belmont Ave.                                                 Unliquidated
           Franklin Park, IL 60131                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $820.85
           Uline                                                                Contingent
           12575 Uline Dr                                                       Unliquidated
           Pleasant Prairie, WI 53158                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $22,983.13
           United Parcel Service                                                Contingent
           PO Box 7247-0244                                                     Unliquidated
           Philadelphia, PA 19170-0001                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $364.18
           United Parcel Service                                                Contingent
           PO Box 650690                                                        Unliquidated
           Dallas, TX 75265-0690                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,880.00
           Vacation Time, Inc.                                                  Contingent
           508 Springdale Court                                                 Unliquidated
           Cape May Court House, NJ 08210                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,151.50
           Waste Management Of NJ                                               Contingent
           PO Box 13648                                                         Unliquidated
           Phila, PA 19101                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $9,636.82
           Wild Republic Div of K&M International                               Contingent
           PO Box 691237                                                        Unliquidated
           Cincinnati, OH 45269                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 12
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              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    830,596.02

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                       830,596.02




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 12
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 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   oral lease of 940 Route
             lease is for and the nature of               130, Cinnaminson, NJ
             the debtor's interest                        currently month to
                                                          month
                  State the term remaining
                                                                                        904 Route 130 Associates, LLC
             List the contract number of any                                            1519 Boardwalk
                   government contract                                                  Atlantic City, NJ 08401


 2.2.        State what the contract or                   lease of 2018 BMW X5
             lease is for and the nature of               for 36 months at
             the debtor's interest                        $709.97/month

                  State the term remaining                31 months
                                                                                        BMW Financial Services NA, LLC
             List the contract number of any                                            5550 Britton Parkway
                   government contract                                                  Hilliard, OH 43026


 2.3.        State what the contract or                   lease of commercial
             lease is for and the nature of               space on 2nd floor of
             the debtor's interest                        Hard Rock Hotel &
                                                          Casino-dated 5/14/2018
                                                          with rent calculated as
                                                          a percentage of gross
                                                          sales as stipulated in
                                                          the lease
                  State the term remaining                57 months
                                                                                        Boardwalk 1000, LLC
             List the contract number of any                                            1000 Boardwalk
                   government contract                                                  Atlantic City, NJ 08401




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.4.        State what the contract or                   lease of portion of 3400
             lease is for and the nature of               Boardwalk, Wildwood,
             the debtor's interest                        NJ as last extended
                                                          from
                                                          9/17/2017-10/15/2018
                                                          with rent payable at
                                                          such times and in such
                                                          amounts as specified in
                                                          the lease
                  State the term remaining                1 month (10/15/2018)
                                                                                          Boardwalk Arcade, L.L.C.
             List the contract number of any                                              PO Box 1649
                   government contract                                                    Wildwood, NJ 08260


 2.5.        State what the contract or                   lease of unit #2,
             lease is for and the nature of               324-325 Washington St.
             the debtor's interest                        Mall, Cape May for 3
                                                          year term expiring
                                                          12/31/2018
                  State the term remaining                3 months
                                                                                          Cindy Huf
             List the contract number of any                                              4090 Bayshore Rd
                   government contract                                                    Cold Springs, NJ 08204


 2.6.        State what the contract or                   lease of Units #3 and
             lease is for and the nature of               #4, 324-325 Washington
             the debtor's interest                        Street Mall, Cape May,
                                                          NJ for 4 years, expiring
                                                          12/31/2018
                  State the term remaining                3 months
                                                                                          Cindy Huf
             List the contract number of any                                              4090 Bayshore Rd
                   government contract                                                    Cold Springs, NJ 08204


 2.7.        State what the contract or                   equipment leases
             lease is for and the nature of               under master lease of
             the debtor's interest                        9/30/2014 and
                                                          subsequent
                                                          amendments/schedules
                  State the term remaining                misc
                                                                                          Direct Capital Corporation
             List the contract number of any                                              155 Commerce Way
                   government contract                                                    Portsmouth, NH 03801


 2.8.        State what the contract or                   lease of 1517
             lease is for and the nature of               Boardwalk, Atlantic
             the debtor's interest                        City, NJ originally for 3
                                                          years through
                                                          12/31/2016 and month
                                                          to month thereafter
                  State the term remaining                -                               Eli Mamiye
                                                                                          13 Porage Path
             List the contract number of any                                              Deal Park, NJ 07723
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 4
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 Debtor 1 James Candy Company                                                                  Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.9.        State what the contract or                   lease of 2714-2716
             lease is for and the nature of               Boardwalk, Wildwood,
             the debtor's interest                        NJ with rent payable at
                                                          such times and in such
                                                          amounts as specified in
                                                          the lease
                  State the term remaining                1 year                       Jersey Cape Investments, LLC
                                                                                       c/o Jilly's Arcade
             List the contract number of any                                           1168 Boardwalk
                   government contract                                                 Ocean City, NJ 08226


 2.10.       State what the contract or                   equipment finance
             lease is for and the nature of               lease of Point of Sale
             the debtor's interest                        Cash register
                                                          equipment for 60
                                                          months at
                                                          $1,685.09/month-Marlin
                                                          also scheduled as
                                                          secured creditor on
                                                          Schedule D
                  State the term remaining                17 Months
                                                                                       Marlin Leasing Corporation
             List the contract number of any                                           300 Fellowship Road
                   government contract                                                 Mount Laurel, NJ 08054


 2.11.       State what the contract or                   lease of first floor store
             lease is for and the nature of               at 1100 Boardwalk,
             the debtor's interest                        Ocean City, NJ,
                                                          through 12/31/2020
                                                          (assigned to James
                                                          Candy Company by
                                                          Fralinger's Inc.)
                  State the term remaining                25 months
                                                                                       Raab Family, LLC
             List the contract number of any                                           311 Wesley Road
                   government contract                                                 Ocean City, NJ 08226


 2.12.       State what the contract or                   lease of 324-326
             lease is for and the nature of               Washington Street Mall,
             the debtor's interest                        Cape May, NJ for 10
                                                          years commencing
                                                          Dec. 2011 with rent
                                                          payable at such times
                                                          and in such amounts
                                                          as specified in the
                                                          lease
                  State the term remaining                39 months
                                                                                       Schiff Enterprises
             List the contract number of any                                           1004 New Road
                   government contract                                                 Northfield, NJ 08225

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 4
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              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease


 2.13.       State what the contract or                   lease of space #01, 2nd
             lease is for and the nature of               floor at the
             the debtor's interest                        Marketplace, Tropicana
                                                          Casino & Resort
                                                          through 4/30/2023
                  State the term remaining                55 months
                                                                                        Tropicana Atlantic City Corp
             List the contract number of any                                            Brighton Ave. & the Boardwalk
                   government contract                                                  Atlantic City, NJ 08401


 2.14.       State what the contract or                   oral lease of 171
             lease is for and the nature of               Westminster Ave. and
             the debtor's interest                        331 Magnolia Ave.,
                                                          Atlantic City currently
                                                          month to month
                  State the term remaining
                                                                                        Westminter Associates, L.L.C.
             List the contract number of any                                            1519 Boardwalk
                   government contract                                                  Atlantic City, NJ 08401




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 4 of 4
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 Debtor name         James Candy Company

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 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      2325 Marlton                      1519 Boardwalk                                     OceanFirst Bank                   D   2.4
             Pike West                         Atlantic City, NJ 08401                                                              E/F
             Associates, LLC
                                                                                                                                    G




    2.2      3400 Haddonfield                  1519 Boardwalk                                     OceanFirst Bank                   D   2.4
             Associates,                       Atlantic City, NJ 08401                                                              E/F
             L.L.C.
                                                                                                                                    G




    2.3      904 Route 130                     1519 Boardwalk                                     OceanFirst Bank                   D   2.4
             Associates, LLC                   Atlantic City, NJ 08401                                                              E/F
                                                                                                                                    G




    2.4      Fralinger's Inc.                  1519 Boardwalk                                     OceanFirst Bank                   D   2.4
                                               Atlantic City, NJ 08401                                                              E/F
                                                                                                                                    G




    2.5      Frank Glaser                      14 Otter Lane                                      OceanFirst Bank                   D   2.4
                                               Egg Harbor Township, NJ 08234                                                        E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Frank Glaser                      14 Otter Lane                                      HR Atlantic City          D
                                               Egg Harbor Township, NJ 08234                      Lender, LLC               E/F       3.42
                                                                                                                            G




    2.7      Frank Glaser                      14 Otter Lane                                      Mercedes Benz             D   2.3
                                               Egg Harbor Township, NJ 08234                      Financial Services        E/F
                                                                                                                            G




    2.8      Lock Water, Inc.                  1519 Boardwalk                                     OceanFirst Bank           D   2.4
                                               Atlantic City, NJ 08401                                                      E/F
                                                                                                                            G




    2.9      Maureen Glaser                    14 Otter Lane                                      OceanFirst Bank           D   2.4
                                               Egg Harbor Township, NJ 08234                                                E/F
                                                                                                                            G




    2.10     Westminster                       1519 Boardwalk                                     OceanFirst Bank           D   2.4
             Associates,                       Atlantic City, NJ 08401                                                      E/F
             L.L.C.
                                                                                                                            G




    2.11     Frank Glaser                      14 Otter Lane                                      BMW of Atlantic City      D
                                               Egg Harbor Township, NJ 08234                                                E/F
                                                                                                                            G   2.2




    2.12     Frank Glaser                      14 Otter Lane                                      Boardwalk Arcade,         D
                                               Egg Harbor Township, NJ 08234                      L.L.C.                    E/F
                                                                                                                            G   2.4




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         James Candy Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $4,110,032.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $5,413,498.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $6,165,140.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       James Candy Company                                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               To be complied and filed as an                                                                      $0.00              Secured debt
               amendment                                                                                                              Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Maureen Glaser                                              11/7/2017                        $10,500.00           loan repayments for advances
               14 Otter Lane                                               ($2000);                                              made by Frank & Maureen
               Egg Harbor Township, NJ 08234                               11/10/2017                                            Glaser
               officer                                                     ($500);
                                                                           4/17/2018
                                                                           ($1000);
                                                                           7/23/2018
                                                                           ($3500);
                                                                           8/2/2018
                                                                           ($3500);

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


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 Debtor        James Candy Company                                                                         Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          9/18/2017             $3,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          4/2/2018                $506.25

                Email or website address


                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.3.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          5/21/2018               $786.25

                Email or website address


                Who made the payment, if not debtor?




       11.4.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          7/19/2018               $106.25

                Email or website address


                Who made the payment, if not debtor?




       11.5.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          9/7/2018                $950.00

                Email or website address


                Who made the payment, if not debtor?




       11.6.    Deiches & Ferschmann
                A Professional Corporation
                25 Wilkins Avenue
                Haddonfield, NJ 08033                                                                                          9/10/2018           $40,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
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           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was               Last balance
               Address                                          account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred
       18.1.     OceanFirst Bank                                XXXX-                        Checking                 Nov. 5, 2018                      $3,358.82
                 975 Hooper Avenue                                                           Savings
                 Toms River, NJ 08753
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other



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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.


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       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Friedman LLP
                    327 Central Avenue
                    Linwood, NJ 08221
       26a.2.       Rose Gedicke
                    359 South Frankfurt Avenue
                    Egg Harbor City, NJ 08215

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Friedman LLP
                    327 Central Avenue
                    Linwood, NJ 08221

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Friedman, LLP
                    327 Central Avenue
                    Linwood, NJ 08221
       26c.2.       Rose Gedicke
                    359 South Frankfurt Avenue
                    Egg Harbor City, NJ 08215

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       OceanFirst Bank
                    975 Hooper Avenue
                    Toms River, NJ 08753

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27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Rose Gedicke
       .                                                                                    9/30/2018                $219, 711.12 at cost

               Name and address of the person who has possession of
               inventory records
               Frank Glaser
               1519 Boardwalk
               Atlantic City, NJ 08401


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Frank Glaser                                   14 Otter Lane                                       President                             100%
                                                      Egg Harbor Township, NJ 08234                                                             ownership

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Maureen Glaser                                 14 Otter Lane                                       Director
                                                      Egg Harbor Township, NJ 08234

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lisa Whitley                                   1519 Boardwalk                                      Chief Operating Officer
                                                      Atlantic City, NJ 08401



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 7, 2018

 /s/ Frank Glaser                                                       Frank Glaser
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       James Candy Company                                                                              Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 40,000.00
             Prior to the filing of this statement I have received                                        $                 40,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 exemption planning, preparation and filing of reaffirmation agreements and applications as needed

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               representation of the debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding, negotiations with secured creditors to reduce to market value, preparation and
               filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods, preparation and
               filing of amended case pleadings.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 7, 2018                                                             /s/ Ira R. Deiches
     Date                                                                         Ira R. Deiches 013941976 NJ
                                                                                  Signature of Attorney
                                                                                  Deiches & Ferschmann
                                                                                  25 Wilkins Avenue
                                                                                  Haddonfield, NJ 08033
                                                                                  856.428.9696 Fax: 856.795.6983
                                                                                  ideiches@deicheslaw.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      James Candy Company                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Frank J. Glaser                                                     common stock 100%
 14 Otter Lane
 Egg Harbor Township, NJ 08234


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 7, 2018                                                       Signature /s/ Frank Glaser
                                                                                            Frank Glaser

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      James Candy Company                                                                    Case No.
                                                                                   Debtor(s)       Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       November 7, 2018                                           /s/ Frank Glaser
                                                                        Frank Glaser/President
                                                                        Signer/Title




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                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        New Jersey Division of Taxation
                        Compliance & Enforcement-Bankruptcy Unit
                        50 Barrack St., 9th Floor
                        PO Box 245
                        Trenton, NJ 08695-0267


                        2325 Marlton Pike West Associates, LLC
                        1519 Boardwalk
                        Atlantic City, NJ 08401


                        3400 Haddonfield Associates, L.L.C.
                        1519 Boardwalk
                        Atlantic City, NJ 08401


                        904 Route 130 Associates, LLC
                        1519 Boardwalk
                        Atlantic City, NJ 08401


                        A.M. Todd Co.
                        PO Box 13859
                        Newark, NJ 07188-0859


                        Act Fast Termite & Pest Control
                        PO Box 1069
                        Jackson, NJ 08527


                        American Express
                        PO Box 1270
                        Newark, NJ 07101


                        Atlantic City Electric Co.
                        Bankruptcy Division
                        5 Collins Drive, Ste 2133
                        Mail Stop 84CP42
                        Carneys Point, NJ 08069


                        Atlantic City Sewerage Company
                        PO Box 1830
                        Atlantic City, NJ 08401
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                    Atlantic Coast Alarms
                    5100 Harding Highway
                    Ste 203
                    Mays Landing, NJ 08330


                    Atlantic Sweetener Co.
                    PO Box 1146
                    Hammonton, NJ 08037


                    Aurora World, Inc.
                    8820 Mercury Lane
                    Pico Rivera, CA 90660


                    B&B Parking
                    114 S. New York Ave.
                    Atlantic City, NJ 08401


                    Bakemark USA, LLC
                    1815 Rte 130 N.
                    Unit 1
                    Burlington, NJ 08016-3016


                    Balford Farms
                    PO Box 827228
                    Philadelphia, PA 19104


                    Bally's Park Place, Inc.
                    Park Place & Boardwalk
                    Attn: Legal Dept
                    Atlantic City, NJ 08401


                    Barclays Bank of Delaware
                    PO Box 13337
                    Philadelphia, PA 19101-3337


                    Best Eastern Exterminating Co.
                    18 Princeton Dr.
                    Shamong, NJ 08088


                    BMW Financial Services NA, LLC
                    5550 Britton Parkway
                    Hilliard, OH 43026
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                    Boardwalk 1000, LLC
                    1000 Boardwalk
                    Atlantic City, NJ 08401


                    Boardwalk Arcade, L.L.C.
                    PO Box 1649
                    Wildwood, NJ 08260


                    Boardwalk Investment Properties, LLC
                    PO Box 10645
                    Greensboro, NC 27401


                    Burke Candy & Ingredients, Inc.
                    3480 N. Fratney St.
                    Milwaukee, WI 53212


                    Calico Cottage, Inc.
                    210 New HIghway
                    Amityville, NY 11701


                    Cargill, Inc.
                    PO Box 640283
                    Pittsburgh, PA 15264-0283


                    Casani Candy
                    7905 Browning Rd
                    Ste 208
                    Pennsauken, NJ 08109


                    Catalog Solutions
                    6750 Hillcrest Plaza Dr.
                    Dallas, TX 75230


                    Cindy Huf
                    4090 Bayshore Rd
                    Cold Springs, NJ 08204


                    Cintas Corp.
                    PO Box 630803
                    Cincinnati, OH 45263-0803


                    Comcash, Inc.
                    16485 Laguna Canyon Road S
                    Ste 210
                    Irvine, CA 92618
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                    Comcast
                    P.O. Box 37601
                    Philadelphia, PA 19101-0601


                    Comcast
                    c/o #3999, Attn: EDST
                    1085 Andrew Dr., Ste F
                    West Chester, PA 19380


                    Compudata Inc.
                    2701 Commerce Way
                    Philadelphia, PA 19154


                    Confires Fire Protection Service, LLC
                    910 Oak Tree Ave
                    Ste J
                    South Plainfield, NJ 07080


                    Crescent Box Corp
                    Attn: McKonly & Asbury, LLP
                    415 Fallowfield Rd
                    Camp Hill, PA 17011


                    Cundiff Oil Company
                    100 S. Black Horse Pike
                    Bellmawr, NJ 08031


                    Digital Kosher
                    930 Eastern Parkway
                    Brooklyn, NY 11213


                    Direct Capital Corporation
                    155 Commerce Way
                    Portsmouth, NH 03801


                    Dutch Valley Food Distributors
                    7615 Lancaster Ave.
                    PO Box 465
                    Myerstown, PA 17067


                    Eastern Lift Truck Co, Inc.
                    PO Box 307
                    Maple Shade, NJ 08052-0307
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                    Ecolab Pest Elim Div.
                    26252 Network Ave
                    Chicago, IL 60673-1262


                    Ecolab, Inc.
                    PO Box 32027
                    New York, NY 10081-2002


                    Ecommerce Partners
                    59 Franklin St
                    New York, NY 10013


                    Eli Mamiye
                    13 Porage Path
                    Deal Park, NJ 07723


                    First Insurance Funding Corp
                    PO Box 7000
                    Carol Stream, IL 60197


                    Fralinger's Inc.
                    1519 Boardwalk
                    Atlantic City, NJ 08401


                    Frank & Maureen Glaser
                    14 Otter Lane
                    Egg Harbor Township, NJ 08234


                    Frank Glaser
                    14 Otter Lane
                    Egg Harbor Township, NJ 08234


                    Friedman LLP
                    327 Central Ave
                    Linwood, NJ 08221


                    Fun Stuff
                    2513 58th St.
                    Ste A
                    Hampton, VA 23661


                    Gem Barcoding Inc.
                    PO Box 391
                    East Greenwich, RI 02818
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                    Grant Supply Company
                    A Div. of FW Webb
                    160 Middlesex Turnpike
                    Bedford, MA 01730


                    H L Marco, HVAC-R
                    4539 Fulton Rd
                    Jacksonville, FL 32225


                    HR Atlantic City Lender, LLC
                    5701 Stirling Rd
                    Davie, FL 33314


                    Island Ice Cream Inc.
                    3809 Park Blvd
                    Wildwood, NJ 08260


                    Jack & Jill Ice Cream
                    PO Box 829815
                    Philadelphia, PA 19182-9815


                    Jersey Cape Investments, LLC
                    c/o Jilly's Arcade
                    1168 Boardwalk
                    Ocean City, NJ 08226


                    Johnson Controls
                    PO Box 71967
                    Pittsburgh, PA 15250-7967


                    Johnson's Popcorn
                    PO Box 802
                    Ocean City, NJ 08226


                    Joseph Weber
                    11 Grandview Ave
                    West Collingswood, NJ 08059


                    L H Companies SIgn Development
                    425 North 3rd St
                    Reading, PA 19601


                    Liberty Coca-Cola Beverages
                    PO Box 780810
                    Philadelphia, PA 19178-0810
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                    Lock Water, Inc.
                    1519 Boardwalk
                    Atlantic City, NJ 08401


                    Marlin Business Bank
                    PO Box 13604
                    Philadelphia, PA 19101-3604


                    Marlin Leasing Corporation
                    300 Fellowship Road
                    Mount Laurel, NJ 08054


                    Maureen Glaser
                    14 Otter Lane
                    Egg Harbor Township, NJ 08234


                    McMaster-Carr Supply
                    PO Box 7690
                    Chicago, IL 60680


                    Mercedes Benz Financial Services
                    PO Box 685
                    Roanoke, TX 76262


                    MNC Stribbons, Inc.
                    2921 West Cypress Creek Rd
                    Fort Lauderdale, FL 33309


                    Motor & Drives, Inc.
                    1413 Marmora Ave.
                    Atlantic City, NJ 08401


                    National Window Cleaning Co.
                    PO Box 513
                    Somers Point, NJ 08244


                    OceanFirst Bank
                    975 Hooper Avenue
                    Toms River, NJ 08753


                    OK Kosher
                    391 Troy Ave
                    Brooklyn, NY 11213
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                    Quill Corporation
                    PO Box 94081
                    Palatine, IL 60094-4081


                    Raab Family, LLC
                    311 Wesley Road
                    Ocean City, NJ 08226


                    Rainbow Polybag Co., Inc.
                    179 Morgan Ave.
                    Brooklyn, NY 11237


                    RBI
                    PO Box 288
                    Pluckemin, NJ 07978


                    Sandblast By Creative Concepts
                    1500 Georgia Rd
                    Ste A
                    Irondale, AL 35210


                    Schiff Enterprises
                    1004 New Road
                    Northfield, NJ 08225


                    Selective Insurance
                    Lockbox 247
                    PO Box 8500
                    Philadelphia, PA 19106


                    Silliker, Inc.
                    900 Maple Rd
                    Homewood, IL 60403


                    Simplex Paper Box Co
                    PO Box 21469
                    York, PA 17402


                    SOSH Architects
                    1020 Atlantic Ave
                    Atlantic City, NJ 08401


                    South Jersey Gas
                    PO Box 6091
                    Bellmawr, NJ 08099
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                    South Jersey Paper Products
                    2400 Industrial Way
                    Vineland, NJ 08360


                    Steelson Packaging
                    190 West Passaic St
                    Rochelle Park, NJ 07662


                    Thomas Kelly
                    TKS Mechanical
                    6 Wilson Ave.
                    Somers Point, NJ 08244


                    Thyssen Krupp Elevator
                    PO Box 933004
                    Atlanta, GA 31193-3004


                    Transcendia Inc
                    9201 W. Belmont Ave.
                    Franklin Park, IL 60131


                    Tropicana Atlantic City Corp
                    Brighton Ave. & the Boardwalk
                    Atlantic City, NJ 08401


                    Uline
                    12575 Uline Dr
                    Pleasant Prairie, WI 53158


                    United Parcel Service
                    PO Box 7247-0244
                    Philadelphia, PA 19170-0001


                    United Parcel Service
                    PO Box 650690
                    Dallas, TX 75265-0690


                    Vacation Time, Inc.
                    508 Springdale Court
                    Cape May Court House, NJ 08210


                    Waste Management Of NJ
                    PO Box 13648
                    Phila, PA 19101
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                    Westminster Associates, L.L.C.
                    1519 Boardwalk
                    Atlantic City, NJ 08401


                    Westminter Associates, L.L.C.
                    1519 Boardwalk
                    Atlantic City, NJ 08401


                    Wild Republic Div of K&M International
                    PO Box 691237
                    Cincinnati, OH 45269
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      James Candy Company                                                                        Case No.
                                                                                   Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for James Candy Company in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 7, 2018                                                      /s/ Ira R. Deiches
 Date                                                                  Ira R. Deiches 013941976 NJ
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for James Candy Company
                                                                       Deiches & Ferschmann
                                                                       25 Wilkins Avenue
                                                                       Haddonfield, NJ 08033
                                                                       856.428.9696 Fax:856.795.6983
                                                                       ideiches@deicheslaw.com




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